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                                                                            FILED IN OPEN COURT
                                                                               u.s.o.c.- Atlanta

                                                                               JUN 18 2024
                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF GEORGIA                        KEVIN P. WEIMER, Clerk
                                                                            By $       Deputy Cieri!
                           ATLANTA DIVISION

UNITED STATES OF AMERICA,



       V.                                       CRIMINAL ACTION NO.
                                                1:24-CR-184-JPB
ARTHUR RAY HANSON, II,

               Defendant.


                      REPORT AND RECOMMENDATION
                       CONCERNING PLEA OF GUILTY 1

      The Defendant, Arthur Ray Hanson, II, by consent, has appeared before the

undersigned United States Magistrate Judge and has entered a plea of guilty to Count

One of the Information. After cautioning and examining the Defendant under oath

concerning each of the subjects mentioned in Rule 11 , I have determined that the

guilty plea was knowing and voluntary, and that the plea to the offenses charged is

supported by an independent basis in fact establishing each of the essential elements

of the offenses.




       1
         Failure to file written objections to this Report and Recommendation within 14
days after service of a copy of this Report and Recommendation shall bar an aggrieved
party from attacking such report and recommendation before the assigned United States
District Judge. See 28 U.S .C. § 636(b)(l)(B).
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      It is, therefore, RECOMMENDED that the plea of guilty be accepted and

that the Defendant be adjudged guilty and have sentence imposed accordingly.

      IT IS SO RECOMMENDED this         l~ day of June, 2024.
                                      ~-
                                     REGINA D. CANNON '-
                                     United States Magistrate Judge




                                        2
